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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §             DOCKET NO. 3:19-CR-00452-X
                                                §
 BRIAN CARPENTER                                §

 ORDER GRANTING DEFENDANTS’ UNOPPOSED JOINT MOTION TO APPOINT
              COORDINATING DISCOVERY ATTORNEY
         On this day, came on to be considered the Defendants’ Unopposed Joint Motion to Appoint

Coordinating Discovery Attorney (Dkt. No. 60). Upon consideration of the same, the Court is of

the opinion that the Defendants’ Motion is meritorious and shall be GRANTED.

         Accordingly, IT IS THEREFORE ORDERED that the Office of the Federal Public

Defender is hereby appointed as the coordinating discovery attorney in this matter.


         SO ORDERED.

         Signed this 8th day of June, 2020.


                                                    __________________________________
                                                    BRANTLEY STARR
                                                    UNITED STATES DISTRICT JUDGE
